Case 3:24-cv-00306-CWR-ASH Document 1-1 Filed 05/28/24 Page 1 of 1
CIVIL COVER SHEET SB: a-(V- AOL

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings Or other bAwe. ASo' except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

JS 44 (Rev. 03/24)

purpose of initiating the civil docket sheet.

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS
Christopher Mack

(b) County of Residence of First Listed Plaintiff

Rankin County

DEFENDANTS
Rankin County, Mississippi

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attomeys (Firm Name, Address, and Telephone Number)
Trent Walkert, Attorney at Law

Attorneys (/f Known)

THE TRACT OF LAN

County of Residence of First Listed Defendant
(IN U\s SQ FQISRRIC DOF MISSISSIPPI
NOTE: IN LAND CONDEMNATION CASES. Ute EuBLocatION GF

D INVOLVED.

MAY 28

2024

BY

ARTHUR JOHNSTON

DEPUTY

II. BASIS OF JURISDICTION (Place an “¥” in One Box Only)

U.S. Government
Plainuff

CJ!

U.S. Government
Defendant

L]2

[x]3 Federal Question

(U.S. Government Not a Party)

[]4_ Diversity

(Undicate Citizenship of Parties in Item IIT)

(For Diversity Cases Only)

PTF

Citizen of This State

L)
CO
O

Citizen of Another State

Citizen or Subject of a
Foreign Country

Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

and One Box for Defendant)

DEF

1 fi

Incorporated or Principal Place

PTF

L] 4

DEF

(]4

of Business In This State

2 ()2

Incorporated and Principal Place

C]s (5

of Business In Another State

3 CT] 3 Foreign Nation

CO 6 C]6

IV. NATURE OF SUIT (Place an “x” in One Box Only) Click here for: Nature of S$
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY

110 Insurance PERSONAL INJURY PERSONAL INJURY |_]625 Drug Related Seizure 422 Appeal 28 USC 158

120 Marine 310 Airplane 365 Personal Injury - of Property 21 USC 881 423 Withdrawal

130 Miller Act
140 Negotiable Instrument
150 Recovery of Overpayment

& Enforcement of Judgment]

151 Medicare Act
152 Recovery of Defaulted
Student Loans
(Excludes Veterans)
CT 153 Recovery of Overpayment
of Veteran’s Benefits
[| 160 Stockholders’ Suits
[| 190 Other Contract
195 Contract Product Liability
196 Franchise

H

315 Airplane Product
Liability
320 Assault, Libel &
Slander
Y | 330 Federal Employers’
Liability
340 Marine
345 Marine Product
Liability
350 Motor Vehicle
355 Motor Vehicle
Product Liability
|] 360 Other Personal
Injury
|] 362 Personal Injury -
Medical Malpractice

Product Liability
[_] 367 Health Care/
Pharmaceutical
Personal Injury
Product Liability
CL] 368 Asbestos Personal
Injury Product
Liability

PERSONAL PROPERTY

370 Other Fraud

H 371 Truth in Lending

LJ 380 Other Personal
Property Damage

LJ 385 Property Damage

Product Liability

uit Code Descriptions.
OTHER STATUTES

375 False Claims Act
376 Qui Tam (31 USC

A

|_]720 Labor/Management
Relations
740 Railway Labor Act
751 Family and Medical
Leave Act
790 Other Labor Litigation

230 Rent Lease & Ejectment
240 Torts to Land

245 Tort Product Liability
[_] 290 Ail Other Real Property

442 Employment

443 Housing/
Accommodations

| 445 Amer. w/Disabilities -

Employment

| 446 Amer. w/Disabilities -

Other

| 448 Education

REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS
|_| 210 Land Condemnation x | 440 Other Civil Rights Habeas Corpus:
220 Foreclosure 441 Voting 463 Alien Detainee

H 510 Motions to Vacate
Sentence

[| 530 General

[ | 535 Death Penalty

Other:

540 Mandamus & Other

550 Civil Rights

555 Prison Condition

560 Civil Detainee -
Conditions of
Confinement

791 Employee Retirement

SOCIAL SECURITY
861 HIA (1395ff)
862 Black Lung (923)
863 DIWC/DIWW (405(g))
864 SSID Title XVI
[_] 865 RSI (405(g))

_]690 Other 28 USC 157 3729(a))
INTELLECTUAL | 400 State Reapportionment
PROPERTY RIGHTS | | 410 Antitrust
$20 Copyrights 430 Banks and Banking
830 Patent 450 Commerce
835 Patent - Abbreviated 460 Deportation
New Drug Application 470 Racketeer Influenced and
840 Trademark Corrupt Organizations
LABOR (| 880 Defend Trade Secrets | 480 Consumer Credit
710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
Act | 485 Telephone Consumer

Protection Act
490 Cable/Sat TV
850 Securities/Commodities/
Exchange
|] 890 Other Statutory Actions
$91 Agricultural Acts
893 Environmental Matters

Income Security Act

IMMIGRATION

s

895 Freedom of Information

| _ FEDERAL TAX SUIT:
[| 870 Taxes (U.S. Plaintiff
or Defendant)

[] 871 IRS—Third Party
26 USC 7609

462 Naturalization Application
465 Other Immigration
Actions

Act
896 Arbitration
4 $99 Administrative Procedure
AcUReview or Appeal of
Agency Decision
|_| 950 Constitutionality of
State Statutes

V. ORIGIN (Place an “X" in One Box Only)

E] 1 Original
Proceeding

2 Removed from 3
State Court

Remanded from
Appellate Court

oO 4 Reinstated or

Oo 5 Transfer
Another
(specify)

Reopened

rred from
District
Transfer

Oo 6 Multidistrict
Litigation -

8 Multidistrict
Litigation -
Direct File

VI. CAUSE OF ACTION

42 USC 1983

Cite the U.S. Civil Statute under which you are filing (Do nor cite jurisdictional statutes unless diversity):

Excessie Force

Brief description of cause:

VII. REQUESTED IN

[] CHECK IF THIS

IS A CLASS ACTION

DEMAND §

CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: [k]lyes [No
VUI. RELATED CASE(S)
IF ANY (See msiructionsy: Ter DOCKET NUMBER
DATE 5-27-2pe4 he pe
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG, JUDGE

